Case 6:12-cV-01928-RBD-G.]K Document 2 Filed 12/28/12 Page 1 of 7 Page|D 8

IN THE CIRCUIT COURT OF THE
NINTH JUDICIAL CIRCUIT, IN AND
FOR ORANGE COUNTY, FlDRIDA

EXPPHA, LLC f/k/a PREFERRED
PHYSICIANS HEALTHCARE
ALLIANCE, L.C.,

CASE NO.
Plaintiff,
vs.

KEPRO ACQUISITIONS, INC.,

Defendant.

 

COMPLAINTAND DEMAND FOR,|QRY TRIAL
Plaintiff, EXPPHA, LLC f/k/a PREFERRED PHYSICIANS HEALTHCARE

ALLIANCE, L.C., (“EXPPHA”), sues Defendant, KEPRO ACQUISITIONS, INC. (“KePRO”),
and alleges:
INTRODUCTION

1. This action arises from KePRO’s breach of a multimillion dollar Asset Purchase
Agreement with Plaintiff, EXPPHA, formerly known as Preferred Physicians Healthcare
Alliance, L.C. liaving developed extremely valuable medical management software products
known as “Med Manager” and “Med Manager Mobile” (collectively, “Med Manager”), a suite of
applications developed to support integrated health care management services for health care
providers administrators, and insurance companies, EXPPHA was courted and finally convinced
by KePRO to enter into the Asset Purchase Agreement (hereinaher, the “Agreement”), a true and
correct copy of which is attached hereto as Exhibit “A.” EXPPHA sold KePRO substantially all
of EXPPHA’s assets, including the coveted Med Manager software along with other components,

such as, a website, self-management tools, and online reports. Rather than paying EXPPHA a

Case 6:12-cV-01928-RBD-G.]K Document 2 Filed 12/28/12 Page 2 of 7 Page|D 9

single, lump sum payment at closing for the assets, KePRO negotiated to defer a portion of the
consideration to be paid for the assets under an “Earnout” arrangement by which EXPPHA would
be paid on a “per member per year” [PMPY] basis for each new member “covered by or under”
plans offered by KePRO’s clients to their members. To further induce EXPPHA to sell its assets,
KePRO also agreed to “use all reasonable efforts to market and sell utilization management, case
management, disease management or wellness services utilizing the [Med Manager] Software to
new clients and existing clients of [KePRO].” The software product, Med Manager, performed
flawlessly, but not so, KePRO, as it dramatically failed to “market and sell” services utilizing the
software. And when KePRO was able to successfully market and sell the services, KePRO
reneged on its Earnout payment obligations to EXPPHA. To collect the millions of dollars owed

under the Earnout arrangement, EXPPHA has brought this action,

,|URISDICTION, PARTIES, & VENUE

2. This is an action for damages that exceed $15,000.()0, exclusive of costs,

interests and attorney’s fees.

3. At all times material to this action, EXPPHA was and is a Florida limited
liability company.
4. At all times material to this action, KePRO was and is a foreign corporation

authorized to do business in Florida with offices in Orange County, Florida.

5. Under Section 47.011, Florida Statutes, venue is proper in Orange County,
Florida because KePRO operates a business located in Orange County, and because the cause
of action alleged in this Complaint accrued in Orange County.

GENERAL ALLEGATIONS COMMON TO ALL COUNTS

6. KePRO and EXPPHA are entities engaged in providing medical management

services to commercial and public clients.

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Case 6:12-cV-01928-RBD-G.]K Document 2 Filed 12/28/12 Page 3 of 7 Page|D 10

7. A key aspect of EXPPHA’s business consisted of an advanced medical
management software which supported integrated care coordination and enabled EXPPHA to
follow the patient’s progress through all aspects of their care.

8. KePRO negotiated to purchase substantially all of EXPPHA’s assets along with
the desired software, primarily because KePRO was unable to develop its own medical
management software.

9. Instead of making a lump sum payment for the assets, KePRO wanted EXPPHA
to assume some of the risk associated with the software, so KePRO negotiated to pay EXPPHA
an upfront fee along with three Eamout payments to be paid out over the next three years based
on a per member per year (“PMPY”) fee.

10. Various formulas were discussed among EXPPHA and KePRO, but it was
decided by both parties that calculating the Earnout based on the number of members
“covered” by a client’s plan would be objective and easily determinable

11. KePRO represented that EXPPHA should expect Earnout payments
consewativcly valued of at least §770,400.00 a year, simply based on KePRO’s existing clients
that were utilizing other medical management software but would be rolled over to utilize the
Med Manager software, KePRO was to expand the market adoption of Med Manager by using
reasonable efforts to market and sell services utilizing Med Manager to new and existing
clients of KePRO, further increasing the payments that EXPPHA could reasonably expect
under the Earnout.

12. Relying upon the representations made by KePRO concerning the expected
economic performance under the Earnout, EXPPHA and its principals agreed to three-year

noncompetition and nonsolicitation requirements in the contract.

Case 6:12-cV-01928-RBD-G.]K Document 2 Filed 12/28/12 Page 4 of 7 Page|D 11

13. After extensive negotiations, EXPPHA and KePRO entered into the Agreement
dated July 16, 2010.

14. Consistent with the terms of the Agreement, EXPPHA was to have received
Earnout payments equal to thirty~six cents ($.36) per Member per year for each net new
Member covered by or under each Health Care Plan (the “Eamout”). (Ex. A at 11 2.1(iii).)

15 . The Eamout was to have been paid to EXPPHA annually within sixty (60) days
after the first, second, and third year anniversary dates of the closing, which occurred on July
16, 2010. (Ex. A at il 2.1(iii).)

KEPRO FAILS TO MARKILI` MED MANAGER

16, KePRO almost immediately experienced problems marketing and selling
services utilizing Med Manager. On one occasion, KePRO, which was led on the sales
initiative by the director of operations, Karen Eaton, made several materially false statements
regarding Med Manager to the State of Florida while bidding on the Florida Medicaid business,
This was business that KePRO had already serviced before the purchase of EXPPHA’s assets,
and for all intents and purposes, was business that KePRO should have easily won again.

17. KePRO knew of the problems with the Florida contract bid before the closing
with EXPPHA, but failed to disclose the problems to EXPPHA.

18. KePRO also failed to properly market the Med Manager software by
imprudently attempting to modify the software with disastrous consequences, causing loss of
business, and causing further damage directly to EXPPHA.

KEPRO FAILS TO PAY EARNOUT
19. On August 15, 2011, EXPPHA provided an invoice to KePRO in the amount of

§960,336.72, representing the first Eamout due to EXPPHA under the Agreement with

Case 6:12-cV-01928-RBD-G.]K Document 2 Filed 12/28/12 Page 5 of 7 Page|D 12

payment due on or before September 16, 2011, primarily attributable to the large the number of
covered lives eligible under the Blue Cross & Blue Shield of Michigan (BCBS insurance plan
after BCBS engaged KePRO to utilize its services).

20. KePRO failed and refused to make timely payment.

21. EXPPHA’s principals, Dr. Edward Cabrera and Dianna Noecker, R.N., both of
whom had been hired by KePRO in conjunction with the asset purchase, objected to KePRO’s
breach.

22. A few days later, KePRO effectively terminated Cabrera and Noecker without
cause or justification

23. The only Eamout received by EXPPHA was a partial payment of $55,704.60
received on October 19, 2011.

KEPRO ATTEMPTS TO REVERSE-ENGINEER AND COPY MED MANAGER

24. KePRO desired to purchase EXPPHA’s highly coveted Med Manager software
primarily because KePRO lacked the capability to develop its own medical management
software.

25. Since the purchase, KeFRO has embarked on a campaign to mimic the
functionality and programming of Med Manager while also making slight modifications and
renaming it as its own software program called, “Atrezzo,” apparently to attempt to avoid
paying EXPPHA for services sold utilizing the Med Manager software, and claiming instead

that the services utilized “Atrezzo.”

EXPPHA SUFFERS DAMAGES

26. As a direct and proximate result of KePRO’s numerous breaches, EXPPHA has

suffered and continues to suffer significant damages due to KePRO’s actions in the form of: (i)

Case 6:12-cV-01928-RBD-G.]K Document 2 Filed 12/28/12 Page 6 of 7 Page|D 13

damages for the Earnout that was not paid for services provided on a PMPY basis related to
clients such as BCBS; (ii) damages for the Eamout for business lost as a result of KePRO’s
gross mismanagement of the sales and marketing; and (iii) damages for any business done
utilizing any software program derived in whole or in part from any of the technological know-
how, design, programming, or intellectual property related to Med Manager.

27. All general and statutory conditions precedent to bringing this action have been
performed, have occurred, have been waived, or have otherwise been excused by KePRO’s

actions.

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BREACH 0F CONTRACT

28. EXPPHA sues KePRO for damages exceeding $15,000.00 for breach of
contract.

29. EXPPHA realleges, incorporates, and asserts by reference the allegations set
forth above in Paragraphs l through 27. l

30. EXPPHA and KePRO entered into the Agreement.

31. Under the Agreement, KePRO had certain obligations, including remitting to
EXPPHA thirty-six cents ($.36) per Member per year for each net new Member covered by or
under each Health Care Plan for three years (the “Earnout”).

32. The first Eamout was due on or before September 16, 2011; the second Eamout
was due on or before September 16, 2012, and the third Eamout is due on September 16, 2013.

33. KePRO committed material breaches of the Agreement as described above.

34. As a direct and proximate result of KePRO’s breaches, EXPPHA has suffered

damages, including without limitation, loss of monies due under the Agreement,

Case 6:12-cV-01928-RBD-G.]K Document 2 Filed 12/28/12 Page 7 of 7 Page|D 14

35. Under the Agreement, KePRO owes EXPPHA the remaining balance due under
the first Eamout and the monies due to EXPPHA under the second Eamout, together with
interest from the date of each payment due.

36. Under the Agreement, EXPPHA is entitled to recover from KePRO all
reasonable attorney fees and costs incurred in enforcing the Agreement. EXPPHA has
retained the firm of Morgan & Morgan, agreeing to pay reasonable fees for its services

WHEREFORE, EXPPHA demands judgment against KePRO for direct and

consequential damages, prejudgment interest, attomey’s fees, and costs.

,|URY TRlAL DEMAND

EXPPHA demands a trial by jury for all issues so triable.

144
Dated this 7 day of November, 2012.

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